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                                           COURTROOM MINUTES
                                       SENTENCING / JUDICIAL REVIEW

        5/29/2019                    Wednesday                                   1:01 PM                         1:44 PM
DATE: ____________           DAY: ______________          START TIME: ______________              END TIME: ______________
                    JDP                                               JAT                                       JD
JUDGE/MAG.: ___________________                 CLERK: _____________________                REPORTER: ____________________
                                    J. Harris                                         ---
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             18-cr-144-jdp-1
CASE NUMBER: _______________________                   Daniel Raudonis
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
      Chadwick Elgersma
AUSA: ____________________________________                   DEFENDANT ATTY.: Stephen Meyer
                                                                              ________________________________
        ____________________________________                                                ________________________________
                                                             DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                                 12
        TOTAL OFFENSE LEVEL: __________                                                   I
                                                          CRIMINAL HISTORY CATEGORY: __________
                                                   10            16
        ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                    1-5 *
COUNT(S) _______________:               INDICTMENT             INFORMATION
           each              1 day MOS.; ______
                                           1                 100 CA; $ ___________
                                                                         2,972.34               ---
CBOP CT. _______;           ______              YRS. S/R; $ ______                 REST.; $ __________ FINE.
        CT. _______;        ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
        VOLUNTARY SURRENDER: _______________ between __________ and __________;
        RELEASE CONDITIONS CONTINUED.
        DETAINED.


ACTIONS:
        PLEA AGREEMENT ACCEPTED
        DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
        DEFENDANT ADVISED OF RIGHT TO APPEAL
        GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
        REVOKED


NOTES:
 1 day (deemed served) CBOP, 1 year S/R (per count, concurrent); first 3 months to be spent at Rock Valley Community Program
_________________________________________________________________________________________________
 $500 C/A (paid); $2,972.34 restitution (joint and several with co-defendant, paid)
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                                                 43 min.
                                                                                             TOTAL COURT TIME: __________
